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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

MIKELA JACKSON, and                                 )
JEAN KELLY,                                         )
                                                    )
                      Plaintiffs,                   )
                                                    )
vs.                                                 )      Cause No.: 1:22-cv-00110-AGF
                                                    )
CITY OF SIKESTON, et al.,                           )
                                                    )
                      Defendants.                   )

                        NOTICE OF VIDEOTAPED DEPOSITION

       PLEASE TAKE NOTICE that Plaintiffs will take the deposition of the following

individual on the following date and time:

       NAME:                         Matthew R. Cotner

       DATE and TIME:                January 25, 2023 at 1:00 p.m. CST

       LOCATION:                     Videoconference (link will be provided upon receipt)

       COURT REPORTER                Lexitas Legal
       And VIDEOGRAPHER:             (501) 801-1801
                                     scheduling45@lexitaslegal.com

       PLEASE TAKE FURTHER NOTICE, that at the above date, hour, and place Plaintiffs’

counsel will take the videotaped deposition of the above-named witnesses pursuant to Federal Rule

of Civil Procedure 30 for the purposes of discovery of the above-captioned case.

                                                    Respectfully submitted,

                                                    DONLON BRAND, LLC

                                             By:    /s/ Melissa K. Donlon
                                                    Melissa K. Donlon #71745
                                                    222 W. Gregory Blvd. Suite 232
                                                    Kansas City, MO 64114
                                                    Telephone: (816) 621-3322
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                                                   Facsimile: (816) 621-3323
                                                   melissa@donlonbrand.com
                                                   Attorneys for Plaintiffs

                               CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of January 2023, the foregoing document was filed
using CM/ECF system, which will send notice of electronic filing to all counsel of record.

                                                   /s/ Melissa K. Donlon
                                                   Attorneys for Plaintiffs
